Case 8:07-cr-00021-SDM-TGW Document 859 Filed 10/07/08 Page 1 of 4 PageID 3756
 A0245D (Rev. 01/07) Judgment in a Criminal Case for Revocation            Sheet 1



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

 UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                  (For Revocation of Probation or Supervised Release)
                    v.
                                                                  Case Number: 8:07-cr-21-T-23TGW
 YOSVANI BROCHE-GONZALEZ                                          USM Number: 49206-018

                                                                  Defendant's Attorney: James Smith, AFPD


 The defendant does not contest committing, and is adjudged guilty of committing, the violations charged in
 numbered paragraphs one through nine of the September 29, 2008, petition (Doc. 857).

          Violation                                                                       Date
          Number                       Nature of Violation                           Violation Ended

             One          New criminal conduct, stalking                                  05/20108
             Two          New criminal conduct, violating injunction                      07/26/08
            Three         New criminal conduct, manufacturing marijuana                   08/20108
             Four         New criminal conduct, leasing or possessing a
                              dwelling with intent to manufacture or
                              cultivate marijuana                                         08/20108
            Five          New criminal conduct, possessing marijuana                      08/20108
            Six           New conviction, violating injunction                            08/20108
           Seven          Possession controlled substance and drug
                              paraphernalia                                               08/20108
            Eight         Frequenting location where drugs are illegally
                              sold, used, distributed, or administered                    08/20108
             Nine         Failure to follow probation officer's instructions              07/02/08

 The defendant's supervised release is REVOKED. The defendant is sentenced as provided in pages two
 through four of this judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984 in
 consideration of the factors specified in 18 U.S.C. § 3553(a), including applicable guidelines and policy
 statements issued by the United States Sentencing Commission.

 The defendant must notify the United States attorney for this district within thirty (30) days of any change
 of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
 by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United
 States attorney of material changes in economic circumstances.

                                                                       October 3, 2008
                                                          Date of Imposition of Sentence


                                                                  ~~~
                                                         Sleven D. Merryday
                                                          UNITED STATES DISTRICT JUDGE



                                                          Date
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  Ao 2450 (Rev. 01/07) Judgment in a Criminal Case for Revocation           Sheet 2 - Imprisonment

  DEFENDANT:            YOSVAN I BROCHE-GONZALEZ                            Judgment - Page -.L of ~
  CASE NUMBER:          8:07-cr-21-T-23TGW



                                                     IMPRISONMENT

  The defendant is committed to the custody of the United States Bureau of Prisons to be imprisoned for a
  total term of: EIGHTEEN (18) MONTHS.



                    The court makes the following recommendations to the Bureau of Prisons:



           .l       The defendant is remanded to the custody of the United States Marshal.

                    The defendant shall surrender to the United States Marshal for this district:

                             at                  _        a.m.      p.m.   on                             _

                             as notified by the United States Marshal.

                    The defendant shall surrender for service of sentence at the institution designated by the
                    Bureau of Prisons:

                             before 2 p.m. on                                      _

                             as notified by the United States Marshal.

                             as notified by the Probation or Pretrial Services Office.

                                                               RETURN

 I have executed this judgment as follows:


 Defendant delivered on                                   to                                         at

 _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                    UNITED STATES MARSHAL


                                                     By
                                                                    DEPUTY UNITED STATES MARSHAL
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  AO 2450 (Rev. 01/07) Judgment in a Criminal Case for Revocation:    Sheet 3 - Supervised Release

  DEFENDANT:             YOSVANJ BROCHE-GONZALEZ                      Judgment - Page -...L of --4...-
  CASE NUMBER:           8:07-cr-21-T-23TGW

                                              SUPERVISED RELEASE

  Upon release from imprisonment, the defendant shall be on supervised release for a term of EIGHTEEN
  (18) MONTHS.

  The defendant shall report to the probation office in the district to which the defendant is released within
  seventy-two (72) hours of release from the custody of the Bureau of Prisons.

  The defendant shall not commit another federal, state, or local crime.

  The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any
  unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of
  release from imprisonment and at least two periodic drug tests thereafter, not to exceed 104 tests per
  year.

  ALL CURRENT CONDITIONS OF SUPERVISION REMAIN IN EFFECT.
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  AD 2450 (Rev. 01/07) Judgment in a Criminal Case for Revocations    Sheet 3A -   Supervised Release

  DEFENDANT:            YOSVANI BROCHE-GONZALEZ                      Judgment - Page -.4..- of --1..-
  CASE NUMBER:          8:07-cr-21-T-23TGW


                                   ADDITIONAL SUPERVISED RELEASE TERMS

  ~        The defendant shall participate in a mental health treatment program and follow the probation
           officer's instructions regarding the implementation of this court directive. Further, the defendant
           shall be required to contribute to the costs of services for such treatment in an amount determined
           reasonable by the probation officer based on ability to payor availability of third party payment and
           in conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.
